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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION


 JESSICA ROUBERT,

       Plaintiff,

 v.                                 CASE NO.: 8:21-cv-2852-TPB-TGW

 CAPITAL ONE FINANCIAL
 CORPORATION,

     Defendant.
 ___________________/

        PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT
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       Pursuant to Fed. R. Civ. P. 23, named Plaintiff, Jessica Roubert (“Named

 Plaintiff” or “Plaintiff”), files this Unopposed Motion with incorporated

 Memorandum of Law. A proposed Order granting this Motion is attached as

 Exhibit A. Defendant supports the ultimate relief requested by Plaintiff (together,

 the “Parties”) and joins Plaintiff in requesting that the Court approve the Order

 attached as Exhibit A. In support of this Unopposed Motion, Plaintiff respectfully

 submits the following:

 I.   BACKGROUND AND OVERVIEW OF SETTLEMENT.

       Plaintiff filed a Class Action Complaint against Defendant in which she

 asserted claims for herself and a putative class under the Employee Retirement

 Income Security Act of 1974 (“ERISA”), as amended by the Consolidated Omnibus

 Budget Reconciliation Act of 1985 (“COBRA”). The Parties have since reached an

 agreement that, if approved by this Court, will resolve all claims of the Named

 Plaintiff and the putative class against Defendant.

       The terms of the Settlement Agreement were carefully modeled after similar

 COBRA class action settlements approved in the Middle District of Florida,

 including by Judge Scriven in Rigney, et al. v. Target Corp., M.D. Case No. 8:19-

 cv-01432-MSS-JSS (March 14, 2021, Docs. 58-59), and Vazquez v. Marriott

 International, Inc., M.D. Fla. Case No. 8:17-cv-00116-MSS-MAP (Feb. 27, 2020,

 Doc. 127); Judge Merryday in Valdivieso v. Cushman & Wakefield, Inc., M.D. Fla.

 Case No. 8:17-cv-00118-SDM-JSS (M.D. Fla. Dec. 7, 2018) (Doc. 92); Judge Moody

 in Hicks v. Lockheed Martin Corp, Inc., 8:19-cv-00261-JSM-TGW (M.D. Fla. Sept.

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 5, 2018) (Doc. 34); and Judge Jung in Carnegie v. FirstFleet Inc., M.D. Fla. Case

 No. 8:18-cv-01070-WFJ-CPT (M.D. Fla. June 21, 2019) (Doc. 63).

       If approved here, the settlement provides for immediate relief to an

 estimated 15,927 members of the proposed settlement class (“Settlement Class

 Members” or “Class Members”). Defendant has agreed to create a common fund of

 $285,000 for the Class Members. Settlement Class Members will not be required

 to take any action to receive a check, making it a “claims paid” settlement. The

 gross payment is approximately $17.89 per Settlement Class Member, with a net

 amount of between $7.00 and $10.00 per Settlement Class Member, amounts

 which are consistent with other COBRA class action settlements approved by this

 Court. There is no reverter of settlement funds to Defendant. Subject to Court

 approval, attorneys’ fees and costs along with the cost of administration will also

 be paid from the fund and a general release payment to Jessica Roubert. If any

 money remains in the Settlement Fund after these distributions and after

 Settlement Class Members have had 60 days to cash their settlement checks, left

 over funds shall be paid as a cy pres donation to a non-profit 501(c)(3) charity, Bay

 Area Legal Services. In sum, the proposed settlement is fair and reasonable, and

 preliminary approval by the Court should be granted.

       A.     The Claims and Case Background.

       This is a putative class action brought by Plaintiff against Defendant under

 29 C.F.R. § 2590.606–4(b)(4) and 29 U.S.C. § 1166(a). The lawsuit generally

 alleges Defendant provided Plaintiff and other Class Members with a deficient

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 COBRA election notice (“COBRA Notice” or “Notice”). More specifically, Plaintiff

 asserted that Defendant’s COBRA Notice did not adequately inform her how to

 exercise her rights to elect COBRA coverage. Plaintiff has further alleged that, in

 violation of 29 C.F.R. § 2590.606–4(b)(4), the Notice failed to: (i) include a date

 certain on which continuation coverage ends; and (ii) be written in a manner

 calculated to be understood by the average plan participant. As a result of the

 alleged violations in the Complaint, Plaintiff sought statutory penalties, injunctive

 relief, attorneys’ fees and costs on behalf of herself and all others similarly situated.

 Throughout the litigation, Defendant has denied that any purported violation

 occurred and has asserted that its COBRA Notices have complied with any and all

 applicable laws.

       By way of further procedural background, the original complaint in this

 lawsuit was filed on December 7, 2021. Following the completion of: (i) extensive

 written discovery and depositions, including third party discovery; (ii) briefing and

 a ruling the court on a potentially dispositive motion to dismiss; (iii) full briefing

 on class certification by both parties; (iv) and an arms-length mediation before

 third party mediator, Carlos Burruezo, during which both sides were represented

 by experience class counsel, the Parties reached a resolution to this action and the

 Parties now enter into this Class Action Settlement Agreement and Release, which

 memorializes in full the terms of the Parties’ amicable resolution of this case.

       More specifically as to the mediation, on October 14, 2022, the Parties

 participated in an all-day mediation session with Mr. Burruezo. Both sides were

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 well-represented. Defendant was represented by two defense lawyers from

 Morgan, Lewis & Bockius LLP, Jeremy Blumenfeld and Christopher Diffee, along

 with its own in-house counsel. Plaintiff was represented by the undersigned

 lawyers, Luis Cabassa, Brandon Hill, and Amanda Heystek from Wenzel Fenton

 Cabassa, P.A.

       B.     Defendant’s Defenses.

       Had mediation been unsuccessful, Defendant had available to it a myriad of

 defenses to Plaintiff’s allegations, including defenses to class certification, defenses

 to the merits of the case, defenses to damages, and a possible standing defense.

 Specifically, Defendant denied, and continues to deny, that it violated 29 U.S.C. §

 1166(a) and 29 C.F.R. § 2590.606-4 with regard to the Named Plaintiff and/or any

 putative class members because the COBRA Notice complied with the notice

 requirements under ERISA, COBRA, and relevant regulations. Furthermore,

 Defendant denies that Plaintiff suffered any damages from the alleged inadequate

 Notice.

        As part of the Settlement Agreement, Defendant specifically denies that it

 engaged in any wrongdoing, does not admit or concede any actual or potential

 fault, wrongdoing, or liability in connection with any facts or claims that have been

 alleged against it in the action, denies that the claims asserted by Named Plaintiff

 are suitable for class treatment other than for settlement purposes, and denies that

 it has any liability whatsoever. However, Defendant agreed to resolve this action

 through settlement because of the substantial expense of litigation, the length of

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 time necessary to resolve the issues presented in this case, the inconveniences

 involved, and the disruption to its business operations.

 II.   THE PROPOSED SETTLEMENT.

       A.     The Proposed Settlement Class.

       The Settlement Agreement defines the proposed Settlement Class as follows:

 “All participants in the Capital One Health Plans who were sent a COBRA Notice

 lacking the “Maximum COBRA Eligibility Date If Elected” during the Class Period

 as a result of a qualifying event, as determined by Defendant, who did not elect

 COBRA”. The Class Period is defined as the period from December 7, 2017, to the

 date of the Court’s preliminary approval order. According to the records of

 Defendant’s third-party COBRA administrator, the class is comprised of an

 estimated 15,927 people.

       B.     Benefits to the Settlement Class.

       The Settlement Agreement, if approved, will resolve all claims of the Named

 Plaintiff and all Settlement Class Members in exchange for the Defendant’s

 agreement to pay $285,000 to a settlement fund (“Settlement Fund”). Each Class

 Member is entitled to a gross pro-rata portion of the Settlement Fund totaling

 $17.89. After deducting the estimated attorneys’ fees and litigation costs, the cost

 for settlement administration, and a general release payment to the Named

 Plaintiff, each of the Settlement Class Members are entitled to receive a net




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 payment of between $7.00 and $10.00. 1        All Class Members will automatically

 receive a check without having to take any action whatsoever, making this a “claims

 paid” settlement. Importantly, no funds will revert to Defendant. Any remaining

 funds will be paid to cy pres recipient Bay Area Legal Services, subject to Court

 approval.

       The Parties did not negotiate attorneys’ fees until after all terms related to

 the size of the common Settlement Fund and the class definitions were agreed

 upon. Plaintiffs’ counsel will file a separate fee petition with the Court addressing

 fees and costs. The Named Plaintiff will request Court approval of $5,000 as a

 general release payment, which is separate from the release of her claim as a

 Settlement Class Member. Neither settlement approval nor the size of the

 Settlement Fund are contingent upon the full amount of any requested fees being

 approved.

                C.   Administration of Notice.

       The Parties have agreed to utilize a private third-party vendor, American

 Legal Claim Services, LLC, (“ALCS”), to administer notice in this case (the

 “Settlement Administrator”). The Parties have also agreed that all fees and




            15,927 total Settlement Class Members = $17.89 gross pro rata recovery per
 1 $285,000 /

 Class Member; $95,000 in attorneys’ fees - $6,486.35 in litigation costs - $55,000
 for cost of administration - $5,000 general release payment = $123,513.65 / 15,927 =
 $7.75 net pro rata recovery per Class Member. Because the cost of administration may
 vary slightly (due to competing bids from different administrators), the net amounts to
 class members will range from at least $7.00 up to $10.00.
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 expenses charged by the Settlement Administrator shall be paid from the

 Settlement Fund.

        D.    Class Action Fairness Act Notice.

        The Settlement Administrator will cause notice of the proposed settlement

 to be served upon the appropriate federal and state officials, as required by the

 Class Action Fairness Act of 2005 (“CAFA”), in substantially the form of the CAFA

 notices attached as Exhibit E to the Settlement Agreement.

 III.   PRELIMINARY CLASS CERTIFICATION.

        As part of preliminary approval of the settlement, the Parties respectfully

 seek certification of the Settlement Class solely for the purposes of settlement, as

 described here.

        A.    The Settlement Meets the Requirements of Rule 23(e) for
              Approval.

        Rule 23(e) of the Federal Rules of Civil Procedure requires judicial approval

 of any settlement agreement that will bind absent class members. This involves a

 two-step process. Holman v. Student Loan Xpress. Inc., 2009 U.S. Dist. LEXIS

 113491, at *7 (M.D. Fla. Nov. 19, 2009). “In the first step of the process, a court

 should make a preliminary evaluation of the fairness of the settlement before

 directing that notice be given to the settlement class.” Smith, 2010 U.S. Dist.

 LEXIS, at *5-6. “Settlement agreements are highly favored in the law and will be

 upheld whenever possible because they are a means of amicably resolving doubts

 and uncertainties and preventing lawsuits.” Pierre-Val v. Buccaneers Ltd. Partn.,


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 2015 U.S. Dist. LEXIS 81518, at *2-3 (M.D. Fla. June 17, 2015) (quoting In re

 Nissan Motor Corp. Antitrust Litig., 552 F.2d 1088, 1105 (5th Cir. 1977)).

       Under Rule 23(e)(2), Courts look to whether: (1) the class representatives

 and class counsel have adequately represented the class; (2) the proposal was

 negotiated at arm’s length; (3) the relief provided for the class is adequate; and (4)

 the proposal treats class members equitably relative to each other. This standard

 is satisfied here, and the Court should enter an order preliminarily approving the

 Class Action Settlement Agreement.

                1.   The Class Representative and Class Counsel Have
                     Adequately Represented the Class.

       There is no question that Named Plaintiff, Jessica Roubert, along with

 Plaintiff’s counsel, adequately represented the class. This first Rule 23(e)(2)

 requirement encompasses two separate inquiries: (1) whether any substantial

 conflicts of interest exist between the representatives and the class; and (2)

 whether the representatives will adequately prosecute the action. Battle v. Law

 Offices of Charles W. McKinnon, P.L., 2013 U.S. Dist. LEXIS 29263, at *10 (S.D.

 Fla. Mar. 5, 2013) (citing Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1323 (11th

 Cir. 2008)).

       Here, the adequacy-of-representation requirement has been met. The

 Named Plaintiff, Jessica Roubert, is adequate given that her interests are

 equivalent to those of the Settlement Class. She has, at all times, been actively

 involved in this case. She participated in the drafting and reviewing of pleadings.


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  She responded to multiple written discovery requests from Defendant and sat for

  a deposition. Additionally, she participated in the settlement of this case by

  attending mediation. There is also no obvious conflict of interest between the

  Named Plaintiff and the Settlement Class. She, along with her counsel, secured a

  six-figure settlement from a sophisticated and well-represented Defendant in favor

  of the Class Members she seeks to represent.

        With respect to Class Counsel, the proposed attorneys have extensive class

 action experience, as detailed in the attached declarations. In fact, Mr. Cabassa

 and Mr. Hill have been appointed as class counsel in multiple COBRA class action

 cases, including in Rigney, et al. v. Target Corp., M.D. Fla. Case No. 8:19-cv-

 01432-MSS-JSS (March 14, 2021, Docs. 58-59), Vazquez v. Marriott

 International, Inc., M.D. Fla. Case No. 8:17-cv-00116-MSS-MAP (Feb. 27, 2020,

 Doc. 127), Valdivieso v. Cushman & Wakefield, Inc., M.D. Fla. Case No. 8:17-cv-

 00118-SDM-JSS (M.D. Fla. Dec. 7, 2018) (Doc. 92), Hicks v. Lockheed Martin

 Corp, Inc., M.D. Fla. Case No. 8:19-cv-00261-JSM-TGW (M.D. Fla. Sept. 5, 2018)

 (Doc. 34), and in Carnegie v. FirstFleet Inc., M.D. Fla. Case No. 8:18-cv-01070-

 WFJ-CPT (M.D. Fla. June 21, 2019) (Doc. 63).

        When, as here, the Parties are represented by counsel who have significant

 experience in class-action litigation and settlements and in ERISA cases, and no

 evidence of collusion or bad faith exists, the judgment of the litigants and their

 counsel concerning the adequacy of the settlement is entitled to deference. Thacker

 v. Chesapeake Appalachia, L.L.C., 695 F. Supp. 2d 521, 532-33 (E.D. Ky. 2010),

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 aff'd sub nom. Poplar Creek Dev. Co. v. Chesapeake Appalachia, L.L.C., 636 F.3d

 235 (6th Cir. 2011) (“in deciding whether a proposed settlement warrants approval,

 the informed and reasoned judgment of plaintiffs' counsel and their weighing of

 the relative risks and benefits of protracted litigation are entitled to great

 deference”); see, e.g., UAW v. Ford Motor Co., 2008 WL 4104329, at *26 (E.D.

 Mich. Aug. 29, 2008) (“[t]he endorsement of the parties’ counsel is entitled to

 significant weight, and supports the fairness of the class settlement.”). Thus, the

 proposed Settlement satisfies Rule 23(e)(2)’s first component, adequacy.

             2.     The Settlement Is the Product of Arm’s Length
                    Negotiations Between Experienced Counsel Before a
                    Neutral Mediator.

       The next Rule 23(e)(2) factor is also satisfied because the proposed

 Settlement is the product of arm’s length negotiations and mediation between the

 Parties represented by experienced counsel. Indeed, the settlement was negotiated

 at arm's length between Plaintiff’s counsel and counsel for Defendant and was

 ultimately the result of a successful mediation before a class-action mediator. See

 D'Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (a “mediator's

 involvement in ... settlement negotiations helps to ensure that the proceedings

 were free of collusion and undue pressure”).

       The proposed settlement, and the record in this case, show that the

 Settlement Agreement was the product of extensive and detailed arm’s-length

 negotiations between the Parties and their counsel. The Parties and counsel were

 well-informed of the potential strengths and weaknesses of their positions and

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 conducted good faith negotiations in an effort to avoid costly and protracted

 litigation. Moreover, as stated above, all counsel involved in the negotiations are

 experienced in handling class action litigation and complex litigation, and are

 clearly capable of assessing the strengths and weaknesses of their respective

 positions. Pierre-Val, 2015 U.S. Dist. LEXIS, at *2 (“courts should give weight to

 the parties’ consensual decision to settle class action cases, because they and their

 counsel are in unique positions to assess the potential risks”). Where there “is no

 evidence of any kind that the parties or their counsel have colluded or otherwise

 acted in bad faith in arriving at the terms of the proposed settlement … counsel’s

 informed recommendation of the agreement is persuasive that approval is

 appropriate.” Strube v. American Equity Inv. Life Ins. Co., 226 F.R.D. 696, 703

 (M.D. Fla. 2005).

       In sum, the attorneys who conducted the negotiations for the Settlement

 Class have many years of experience in conducting complex class action litigation

 and were thoroughly conversant with the strengths and weaknesses of the case.

 The decision of Plaintiff’s counsel on settlement should be given great deference.

 This also weighs in favor of approval. See Gevaerts v. TD Bank, N.A., No. 11:14-

 CV-20744-RLR, 2015 WL 12533121, at *7 (S.D. Fla. Aug. 4, 2015) (“Plaintiffs’

 counsel was also well-positioned to evaluate the strengths and weaknesses of

 Plaintiffs’ claims, as well as the appropriate basis upon which to settle them, as a

 result of similar class action cases Plaintiffs’ counsel has brought in the past.”)

             3.      The Settlement Provides Significant Relief to Class

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                     Members.

        As detailed above, the Settlement will provide substantial relief to

  Settlement Class Members, satisfying the third Rule 23(e)(2) factor. The

  settlement requires Defendant to pay $285,000 into a Settlement Fund to resolve

  the claims at issue. This represents a gross recovery of approximately $17.89 per

  Settlement Class Member, with a net recovery of between $7.00 to $10.00 per

  Class Member. This falls well within the range of reasonableness for settlement

  purposes. See, e.g., Vazquez v. Marriott International, Inc., M.D. Fla. Case No.

  8:17-cv-00116-MSS-MAP (Feb. 27, 2020, Doc. 127) (Judge Scriven approved gross

  recovery of $13.00 per class member in 20,000 per class in COBRA class action

  case); Rigney, et al. v. Target Corp., 8:19-cv-01432-MSS-JSS (March 14, 2021,

  Docs. 58-59) (Judge Scriven approved $17 gross payment and $10 net payment to

  class members in COBRA class action case); Hicks v. Lockheed Martin Corp, Inc.,

  8:19-cv-00261-JSM-TGW (M.D. Fla. Sept. 5, 2018) (court approved settlement in

  COBRA notice case in which each class member’s gross recovery was $24 and net

  of $13).

        The settlement’s monetary relief is particularly reasonable in this case

  because it was possible that Settlement Class Members could have recovered no

  monetary damages even if they were successful on the merits. Moreover, under the

  settlement, all Settlement Class Members will share in the recovery, as they do not

  need to file a claim form in order to receive a settlement payment. Behrens v.

  Wometco Enters., Inc., 118 F.R.D. 534, 542 (S.D. Fla. 1988) (“A settlement can be

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  satisfying even if it amounts to a hundredth or even a thousandth of a single

  percent of the potential recovery.”)

        Notably, all Settlement Class Members will share in the recovery, as they do

  not need to file a claim form in order to receive a settlement payment. In

  determining whether a proposed settlement is fair, adequate, and reasonable, the

  Court should consider several factors, including: (1) the likelihood of success at

  trial; (2) the range of possible recovery; (3) the point on or below the range of

  possible recovery at which a settlement is fair, adequate, and reasonable; (4) the

  complexity, expense, and duration of litigation; (5) the substance and amount of

  opposition to the settlement; and (6) the stage of proceedings at which the

  settlement was achieved. In re CP Ships Ltd. Securities Litigation, 578 F.3d 1306,

  1317-18 (11th Cir. 2009)). “Preliminary approval is appropriate where the proposed

  settlement is the result of the parties’ good faith negotiations, there are no obvious

  deficiencies and the settlement falls within the range of reason. Settlement

  negotiations that involve arm’s length, informed bargaining with the aid of

  experienced counsel support a preliminary finding of fairness.” In re Checking

  Account Overdraft Litig., 2012 U.S. Dist. LEXIS 56115, at *51-52 (citations and

  quotations omitted).

        There is a risk that Plaintiff and the Settlement Class could recover nothing

 even if the Court were to determine that the COBRA Notice at issue had a technical

 deficiency. See, e.g., Ctr. for Orthopedics & Sports Med. v. Horizon, 2015 U.S. Dist.

 LEXIS 133763, *16 (D.N.J. Sept. 30, 2015) (court did not impose statutory penalty

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 because administrator did not act in bad faith); Cole v. Trinity Health Corp., 2014

 U.S. Dist. LEXIS 7047, *22 (N.D. Iowa Jan. 21, 2014), aff’d, 774 F.3d 423 (8th Cir.

 2014) (court did not award statutory penalty even though administrator did not

 send COBRA notice to plaintiff because administrator acted in good faith and

 plaintiff suffered no damages); Gómez v. St. Vincent Health, Inc., 649 F.3d 583,

 590-91 (7th Cir. 2011), as modified (Sept. 22, 2011) (affirming district court’s

 decision to decline to award statutory penalties where plan participants were not

 “significantly prejudiced by the delay in notification”); Jordan v. Tyson Foods,

 Inc., 312 F. App’x 726, 736 (6th Cir. 2008) (affirming district court’s decision to

 decline to award statutory penalties where counsel for the plan participant “was

 not able to articulate any appreciable harm” from the failure to provide notice).

 Accordingly, the negotiated relief is more than adequate and should be approved.

       As set forth above, continuing the litigation would have been complicated,

 protracted, and expensive.    The risk of the Named Plaintiff being unable to

 establish liability and damages was also present because of the numerous defenses

 asserted by Defendant. Likewise, summary judgment had not been briefed. Each

 of these phases of litigation presented serious risks, which the settlement allows

 Named Plaintiff and the Settlement Class to avoid. See, e.g., In re Painewebber

 Ltd. P’ships Litig., 171 F.R.D. 104, 126 (S.D.N.Y. 1997) (“Litigation inherently

 involves risks.”).

       Courts reviewing the issue of fairness have also favored settlements that

 allow even partial recovery for class members where the results of suits are

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 uncertain. Murray v. GMAC Mortg. Corp., 434 F.3d 948, 952 (7th Cir. 2006)

 (“Risk that the class will lose should the suit go to judgment on the merits justifies

 a compromise that affords a lower award with certainty.”); see also In re Mexico

 Money Transfer Litig., 267 F.3d 743 (7th Cir. 2001).

       The gross pro rata Settlement Class Member recovery in this settlement is

 in line with per class member settlement amounts in similar cases. Under the

 Parties’ Settlement Agreement, the Settlement Class Members can quickly realize

 a portion of their possible statutory damage claims from the Settlement Fund, even

 if the amount is less than the amount that might have been recovered through

 successful litigation. Likewise, Defendant caps its exposure at less than it could owe

 to each Settlement Class Member if it were to lose at trial, in addition to avoiding

 protracted litigation and a trial which would involve significant time and expense

 for all Parties. The Named Plaintiff supports the Settlement. Class Counsel believes

 that the bulk of the other Settlement Class Members will have a favorable reaction

 to the Settlement and not object once they have been advised of the settlement

 terms through the Court-approved Notices.

              4.    The Proposal Treats Class Members Equitably
                    Relative to Each Other.

       The last Rule 23(e)(2) factor is satisfied because the proposed settlement

 treats Class Members equitably. As set forth above, with the Settlement Class

 comprised of an estimated 15,927 participants, each Settlement Class Member will

 receive a gross settlement payment of $17.89 and an estimated net settlement


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 payment of between $7.00 to $10.00.           Importantly, this is a “claims paid”

 settlement. Settlement Class Members do not have to submit claim forms to receive

 a share of the settlement proceeds. Rather, all Settlement Class Members will

 simply receive checks after the settlement is deemed effective under the settlement

 agreement (“Settlement Effective Date” or “Effective Date”). If settlement checks

 are not cashed, the Settlement Agreement provides for a donation to a cy pres

 recipient, Bay Area Legal Services.

       If Plaintiff had chosen to continue to litigate her claims, a successful outcome

 was far from guaranteed. As discussed below, Plaintiff faced significant risks with

 respect to liability and damages.

       First, with respect to liability, important issues remained to be decided upon

 the evidence presented.

       Second, with respect to damages, the pertinent regulations provide for a

 maximum statutory penalty of $110 per day, but no minimum penalty. See 29

 C.F.R. § 2575.502c-1. Whether or not to award statutory penalties is left completely

 within the discretion of the court. See Scott v. Suncoast Beverage Sales, Ltd., 295

 F.3d 1223, 1232 (11th Cir. 2002). In other words, even if Plaintiff proved Defendant

 violated the COBRA-notice regulation, Plaintiff and Settlement Class Members

 may have recovered only nominal damages or even nothing at all.

       Third, even if Plaintiff made it to and overcame summary judgment, won at

 trial, and then convinced the Court (not a jury) to award statutory penalties,

 Defendant likely would have appealed any final adverse judgment, meaning

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 Plaintiff would also need to survive appellate proceedings, which is particularly

 risky given that the Eleventh Circuit has not before ruled on the precise COBRA

 issues presented by this case.

       Thus, to avoid the foregoing risks, it was reasonable for Plaintiff to settle the

 case at this juncture in order to assure class-wide monetary and prospective relief

 for Settlement Class Members. See Bennett v. Behring Corp., 76 F.R.D. 343, 349-

 50 (S.D. Fla. 1982) (stating that it would have been “unwise [for plaintiffs] to risk

 the substantial benefits which the settlement confers … to the vagaries of a trial”),

 aff’d, 737 F.2d 982 (11th Cir. 1984).

              5.      The Settlement Will Avoid a Complex, Expensive, and
                      Prolonged Legal Battle Between the Parties.

       Aside from the risks of litigation, continuing the litigation would have

 resulted in complex, costly, and lengthy proceedings before this Court and likely

 the Eleventh Circuit, which would have significantly delayed relief to Settlement

 Class Members (at best) and might have resulted in no relief at all. Moreover,

 Defendant would have appealed any judgment entered against it, resulting in

 further expense and delay. Indeed, complex litigation such as this “can occupy a

 court’s docket for years on end, depleting the resources of the parties and taxpayers

 while rendering meaningful relief increasingly elusive.” In re U.S. Oil & Gas Litig.,

 967 F.2d at 493. By entering into the settlement now, Plaintiff saved precious time

 and costs, and avoided the risks associated with further litigation, trial, and an

 inevitable appeal.


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 IV.     The Proposed Notice of Settlement Is Reasonable.

         In addition to reviewing the substance of the parties’ Settlement Agreement,

 the Court must ensure that notice is sent in a reasonable manner to all Settlement

 Class Members who would be bound by the proposed settlement. Fed. R. Civ. P.

 23(e)(1). The “best notice” practicable under the circumstances includes individual

 notice to all potential class members who can be identified through reasonable

 effort. Fed. R. Civ. P. 23(c)(2)(B). That is precisely the type of notice contemplated

 here.

         Under the Settlement, each Settlement Class Member will be sent a Short

 Form Notice of the proposed settlement via U.S. First-Class Mail in the form of a

 postcard, informing them of the terms of the settlement and their right to object to

 or opt-out of the settlement, subject to Court approval in its Preliminary Approval

 Order of both the Short Form and Long Form Notice. The Short Form Notice will

 direct the Settlement Class Members to the Settlement Administrator’s website

 where additional information will be provided, along with a 1-800 informational

 number and call center. The content of the Long Form Notice is also reasonable

 and appropriate. Under Rule 23(c)(2)(B), notice must clearly and concisely state:

 (i) the nature of the action; (ii) the definition of the class certified; (iii) the class

 claims, issues, or defenses; (iv) that a class member may enter an appearance

 through an attorney if the member so desires; (v) that the court will exclude from

 the class any member who requests exclusion; (vi) the time and manner for



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 requesting exclusion; and (vii) the binding effect of a class judgment on members

 under Rule 23(c)(3).

       The proposed Notices of Settlement include all of this information. In

 addition, the Notices of Settlement clearly spell out the terms of the proposed

 Settlement, provide a website address where Settlement Class Members can obtain

 a copy of the Settlement Agreement and other relevant documents, and include a

 phone number that they may call if they have any questions. Accordingly, this

 Court should approve both the Short Form and the Long Form Notice of

 Settlement, as both the content of the notices and the methods of dissemination

 are reasonable.

 V.    Class Certification Is Appropriate Under Rule 23(a) for
       Settlement Purposes.

       In addition to approving the proposed settlement and the Notices of

 Settlement, this Court should also certify the proposed Settlement Class for

 settlement purposes only, under Fed. R. Civ. P. 23(a). “A class may be certified

 solely for the purposes of settlement where a settlement is reached before a

 litigated determination of the class certification issue.” Borcea v. Carnival Corp.,

 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal quotation marks and citation

 omitted). Whether to certify a class action rests within the sound discretion of the

 district court. Cooper v. Southern Co., 390 F.3d 695, 711 (11th Cir. 2004).

       However, in the context of a settlement, class certification is more easily

 attained because the court need not inquire whether a trial of the action would be


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 manageable on a class-wide basis. See Amchem Prods., Inc. v. Windsor, 521 U.S.

 591, 620 (1997) (“Confronted with a request for settlement-only class certification,

 a district court need not inquire whether the case, if tried, would present

 intractable management problems … for the proposal is that there be no trial.”).

 Thus, “[t]he requirements for class certification are more readily satisfied in the

 settlement context than when a class has been proposed for the actual conduct of

 the litigation.” White v. Nat’l Football League, 822 F. Supp. 1389, 1402 (D. Minn.

 1993) (citations omitted); see also Horton v. Metropolitan Life Ins. Co., 1994 U.S.

 Dist. LEXIS 21395, at *15 (M.D. Fla. Oct. 25, 1994).

       A.     The Requirements of Rule 23(a) Are Met.

       Rule 23(a) sets forth four prerequisites for class certification: numerosity,

 commonality, typicality, and adequacy of representation. See Fed. R. Civ. P. 23(a).

 Plaintiff has satisfied all four requirements as set forth below.

              1.     Numerosity.

       Rule 23(a)(1) requires Plaintiff to show that the number of persons in the

 proposed class is so numerous that joinder of all class members would be

 impracticable. Here, there are an estimated 15,927 Settlement Class Members.

 Numerosity is satisfied. See Williams v. Wells Fargo Bank, N.A., 280 F.R.D. 665,

 671-72 (S.D. Fla. 2012) (“a class size of more than forty is adequate”).

              2.     Commonality.

       Rule 23(a)(2) requires the existence of “questions of law or fact common to

 the class.” In order to satisfy this requirement, there must be “at least one issue

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 whose resolution will affect all or a significant number of the putative class

 members.” Williams v. Mowhawk Indus., Inc., 568 F.3d 1350, 1355 (11th Cir.

 2009) (internal quotation marks and citation omitted).

       “The commonality element is generally satisfied when a plaintiff alleges that

 defendants have engaged in a standardized course of conduct that affects all class

 members.” In re Checking Account Overdraft Litig., 275 F.R.D. 666, 673 (S.D. Fla.

 2011) (internal brackets and quotations marks omitted). Here, there are common

 issues regarding (among other things): (1) whether Defendant violated COBRA’s

 notice requirements; (2) whether any such violation was willful or the result of bad

 faith; and (3) whether and to what extent statutory penalties are appropriate. These

 common issues support certification of the proposed Settlement Class for

 settlement purposes only. See Pierce v. Visteon Corp., 2006 U.S. Dist. LEXIS

 98847, at *12 (S.D. Ind. Sept. 14, 2006) (holding there was commonality where

 plaintiff challenged defendants’ COBRA notice practices “as applied to the entire

 class”); Hornsby v. Macon Cty. Greyhound Park, Inc., 2013 U.S. Dist LEXIS 6235,

 at *5 (M.D. Ala. Jan. 16, 2013) (finding commonality satisfied and certifying

 COBRA notice class for settlement purposes).

              3.    Typicality.

       The typicality requirement “tend[s] to merge” with the commonality

 requirement. Gen. Tel. Co. of the S.W. v. Falcon, 457 U.S. 147, 157 n.13 (1982); see

 also In re Checking Account Overdraft Litig., 275 F.R.D. at *3 n.8 (citation

 omitted). Typicality is satisfied where the named plaintiff’s claims “arise from the

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 same event or pattern or practice and are based on the same legal theory” as the

 claims of the class. Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337

 (11th Cir. 1984).

       Here, Plaintiff is typical of the Settlement Class she seeks to represent, as she

 received the same COBRA Notice as the putative Class Members and her claims

 stem from that COBRA Notice. Accordingly, Rule 23(a)(3) is also satisfied. See

 Pierce, 2006 U.S. Dist. LEXIS 98847, at *13 (typicality met where “[a]ll of the class

 claims stem from Defendants’ alleged failure to provide COBRA notices pursuant

 to the dictates of 29 U.S.C. § 1166, a common course of conduct, and are based

 upon the same legal theory”).

              4.     Adequacy.

       The requirement of adequate representation addresses two issues: (1)

 whether plaintiff’s counsel are qualified, experienced, and generally able to

 conduct the proposed litigation; and (2) whether the named plaintiff has interests

 antagonistic to those of the rest of the class. Williams, 280 F.R.D. at 673. Here,

 Plaintiff’s counsel has extensive experience litigating class action cases, including

 COBRA notice cases. See generally Declarations of Luis A. Cabassa, Brandon J.

 Hill, and Marc Edelman. Moreover, “[t]here is nothing to indicate that [plaintiffs’]

 interests are in conflict with any members of the class.” Brand v. Nat’l Bank of

 Commerce, 213 F.3d 636 (5th Cir. 2000). To the contrary, Plaintiff “share[s]

 common interests with the class members and seek[s] the same type of relief[.]” In



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 re Checking Account Overdraft Litig., 275 F.R.D. at *7. Accordingly, the adequacy

 requirement is also met.

       B.    The Requirements of Rule 23(b)(3) Are Also Met.

       In addition to satisfying Rule 23(a), Plaintiff must also satisfy Rule 23(b)(3).

 Under Rule 23(b)(3), a proposed class must satisfy two factors: predominance and

 superiority. As discussed below, the proposed Settlement Class in this case meets

 the requirements of Federal Rule of Civil Procedure 23(b)(3) because common

 questions of law or fact between the Parties predominate over individual questions,

 and class action is the best available method for adjudicating this controversy.

             1.     Predominance.

       Predominance is governed by an analysis of whether liability may be

 resolved on a class-wide basis. “Under Rule 23(b)(3) it is not necessary that all

 questions of law or fact be common, but only that some questions are common and

 that they predominate over the individual questions . . . In essence, the Court must

 determine whether there are common liability issues which may be resolved

 efficiently on a class-wide basis.” Battle, 2013 U.S. Dist. LEXIS 29263, at *10-11

 (internal citations omitted). Though not a determination on the merits, a Rule

 23(b)(3) analysis prevents the class from degenerating into a series of individual

 trials. Andrews v. AT&T, 95 F.3d 1014, 1023 (11th Cir. 1996).

       Here, common questions of law and fact predominate. The central common

 issues in this case concern a standardized COBRA Notice that was common to all

 Settlement Class Members as all Class Members are believed to have received the

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 same deficient COBRA Notice. Moreover, common questions of law and fact

 pertain to whether Defendant should be required to pay statutory penalties for

 utilizing that particular notice. See, e.g., Slipchenko v. Brunel Energy, Inc., 2013

 U.S. Dist. LEXIS 124159 (S.D. Tex. Aug. 30, 2013) (COBRA case finding common

 issues predominated).

              2.     Superiority.

       The Court must also consider whether the superiority requirement has been

 met. In making this determination, the Court may consider, among other factors:

 (i) the class members’ interests in individually controlling the prosecution or

 defense of separate actions; (ii) the extent and nature of any litigation concerning

 the controversy already begun by or against class members; (iii) the desirability or

 undesirability of concentrating the litigation of the claims in the particular forum;

 and (iv) the likely difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3).

       Superiority is met with regard to these first two factors under the Federal

 Rule of Civil Procedure 23(b)(3) analysis. Given the low amount of damages for

 individual members of the Settlement Class in this case and the fact that there are

 common issues shared by the Settlement Class Members, the individual interest in

 controlling the case through separate actions is relatively low.

       Furthermore, concentrating the litigation and settlement of this action in

 this forum is in the interest of judicial economy. “Separate actions by each of the

 class members would be repetitive, wasteful, and an extraordinary burden on the

 courts.” In re Checking Account Overdraft Litig., 275 F.R.D. 666, 679 (S.D. Fla.

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 2011). Finally, under the Federal Rule of Civil Procedure 23(b)(3) superiority

 analysis, since the Court is asked to certify this action for settlement purposes only,

 to approve the Settlement Class it would not need to determine whether the class

 would be manageable for litigation purposes. Kizer v. Summit Partners, L.P., 2012

 U.S. Dist. LEXIS 63795, at *21 (E.D. Tenn. May 7, 2012) (approving class

 settlement under superiority analysis where “given that this matter did not go to

 trial, concerns regarding management of the class action are minor”).

       Indeed, the Settlement Class Members who received Defendant’s COBRA

 Notice are unlikely to be aware that their rights may have been violated and are

 therefore unlikely to prosecute individual claims. See Ramirez v. Palisades

 Collection, LLC, 250 F.R.D. 366, 374 (N.D. Ill. 2008) (finding class action superior

 method of litigation where class members might not be aware that they have legal

 claims). Moreover, given the relatively small size of the claims at stake (involving

 discretionary statutory penalties, which may not be awarded), it is unlikely that

 Class Members would pursue their claims. And, even if Settlement Class Members

 were able to individually prosecute their claims, “[s]eparate actions by each of the

 class members would be repetitive, wasteful, and an extraordinary burden on the

 courts.” Kennedy v. Tallant, 710 F.2d 711, 718 (11th Cir. 1983). Thus, a class action

 is superior to other available methods for fairly and efficiently adjudicating this

 dispute.

       For the foregoing reasons, Named Plaintiff Jessica Roubert respectfully asks

 the Court enter the attached proposed Preliminary Approval Order (see Exhibit A).

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                         CERTIFICATE OF GOOD FAITH

        Plaintiff’s counsel certifies that, in conformance with Local Rule 3.01(g), he

  conferred with Defendant’s counsel about the issues raised in Plaintiff’s Motion.

  Defendant does not oppose the relief requested herein.

        DATED this 13th day of December, 2022.


                                                Respectfully submitted,

                                                /s/Brandon J. Hill
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                                                Attorneys for Plaintiff

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of December, 2022, I

 electronically filed the foregoing with the Clerk of Court using the CM/ECF system,

 which sent notification of this filing to all counsel of record.

                                                /s/Brandon J. Hill
                                                BRANDON J. HILL



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